         Case 1:18-cr-00146-JDB Document 19-1 Filed 01/22/21 Page 1 of 2

                                                       U.S. Department of Justice

                                                       Michael R. Sherwin
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                       January 21, 2021
Via Email

Ubong Akpan, Esq.
Assistant Federal Public Defender
625 Indiana Avenue, NW
Washington, DC 20004

        Re:     United States v. Isabelle Garcia, 18-cr-00146

Dear Counsel:

       In compliance with our discovery obligations under Rule 16 and the Federal Rules of
Criminal Procedure, please find enclosed the government’s second discovery production in this
case. This production contains FBI 302’s associated with Isabelle Garcia, as listed below:


                Description                                 Bates Range
                FBI- 302’s                 FBI-IGARCIA-000001 to FBI-IGARCIA-000084


        These materials are subject to the Protective Order issued by the Court on December 24,
2020.

        The government hereby requests reciprocal discovery under Rule 16(b) of the Federal
Rules of Criminal Procedure. The government requests that the defendant allow inspection and
copying of (1) any books, papers, documents, data, photographs, tapes, tangible objects, or
copies or portions thereof, that are in the defendant’s possession, custody or control, and that the
defendant intends to introduce as evidence or otherwise rely on at trial, and (2) any results or
reports of physical or mental examinations and of scientific tests or experiments made in
connection with this case, or copies thereof, that are in the defendant’s possession, custody or
control, and that the defendant intends to introduce as evidence or otherwise rely upon at trial, or
that were prepared by a witness whom the defendant intends to call at trial.

       The government also requests that the defendant disclose prior statements of witnesses
who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order to avoid
unnecessary delays, the government requests that the defendant have copies of those statements
available for production to the government no later than the commencement of trial.
         Case 1:18-cr-00146-JDB Document 19-1 Filed 01/22/21 Page 2 of 2




        The government also requests that the defendant disclose a written summary of testimony
that the defendant intends to use as evidence at trial under Rules 702, 703, and 705 of the Federal
Rules of Evidence. The summary should describe the opinions of the witnesses, the bases and
reasons for the opinions, and the qualification of the witnesses.

        Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written notice of the
defendant’s intention, if any, to claim a defense of actual or believed exercise of public authority,
and also demands the names and addresses of the witnesses upon whom the defendant intends to
rely in establishing the defense identified in any such notice.

       If you have any questions, please do not hesitate to contact me.

                                              Sincerely,

                                              MICHAEL R. SHERWIN
                                              Acting United States Attorney


                                      By:           /s/      Peter Lallas
                                              Peter Lallas
                                              Assistant United States Attorney


Enclosures




                                                                                                   2
